                       UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF NORTH CAROLINA
                               STATESVILLE DIVISION
                               DOCKET NO. 5:07CR19-V

UNITED STATES OF AMERICA                  )
                                          )
            v.                            )                  ORDER OF DISMISSAL
                                          )
RICHARD LEE DANCY,                        )
                  Defendant.              )
_________________________________________ )


       This matter is before the Court upon the motion of the Government, filed December 17,

2008. (Document #124)       For the reasons stated in the Government’s motion, leave of Court is

hereby granted for the dismissal of the Third Superseding Bill of Indictment in Criminal Docket No.:

5:07CR19 without prejudice.



                                                 Signed: December 17, 2008




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